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    1   Amy L. Lessa (SBN 202872)
           E-Mail: alessa@fisherphillips.com
    2   Darcey M. Groden (SBN 296492)
           E-Mail: dgroden@fisherphillips.com
    3   FISHER & PHILLIPS LLP
        4747 Executive Drive, Suite 1000
    4   San Diego, California 92121
        Telephone: (858) 597-9600
    5   Facsimile: (858) 597-9601
    6   Attorneys     for    Defendants      Bio-Medical
        Applications of Mission Hills, Inc. and Fresenius
    7   Management Services, Inc.
    8                      UNITED STATES DISTRICT COURT
    9                    CENTRAL DISTRICT OF CALIFORNIA
   10

   11   DOLORES CALDERON,                     Case No: 2:20-cv-07869 PSG (JEMx)
   12                     Plaintiff,          [Los Angeles Superior Court Case No.
                                              20STCV27571]
   13           v.
   14   BIO-MEDICAL APPLICATIONS OF           DEFENDANT FRESENIUS
        MISSION HILLS, INC., FRESENIUS        MANAGEMENT SERVICES, INC.’S
   15   MANAGEMENT SERVICES, INC.,            ANSWER AND AFFIRMATIVE
        BIO-MEDICAL     APPLICATIONS          DEFENSES TO PLAINTIFF’S
   16   MANAGEMENT COMPANY, INC.,             SECOND AMENDED COMPLAINT
   17                     Defendants.
   18                                         State Court Complaint Filed: July 22, 2020
                                              State Court FAC Filed: August 26, 2020
   19                                         Trial Date: August 31, 2021
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                                          DEF FRESENIUS MANAGEMENT SERVICES, INC.’S ANS
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    1           Defendant Fresenius Management Services, Inc. (“Defendant”) responds to
    2   Plaintiff’s Second Amended Complaint as follows:
    3                                  NATURE OF CLAIMS
    4           1.      Answering Paragraph 1, the first sentence is a legal conclusion, to
    5   which no response is required. To the extent that a response is deemed required,
    6   Defendant denies each and every allegation contained therein as to itself.
    7   Defendant lacks sufficient knowledge or information to form a belief as to the truth
    8   of the allegations in the first sentence as to the other Defendants and, on that basis,
    9   denies each and every allegation in the first sentence as to the other Defendants.
   10   The second sentence is a summary of the claims in the Second Amended
   11   Complaint, to which not response is required. To the extent that a response is
   12   deemed required, Defendant denies each and every allegation contained therein.
   13                                     JURISDICTION
   14           2.      Answering Paragraph 2, this paragraph contains Plaintiff’s
   15   jurisdictional allegations, to which no response is required. To the extent that a
   16   response is deemed required, Defendant admits the allegations in the first, second,
   17   and fourth sentences. Defendant lacks sufficient knowledge or information to form
   18   a belief as to the truth of the allegations in the third sentence and, on that basis,
   19   denies each and every allegation contained therein.
   20                                      THE PARTIES
   21           3.      Answering Paragraph 3, this paragraph contains Plaintiff’s
   22   jurisdictional allegations, to which no response is required. To the extent that a
   23   response is deemed required, Defendant lacks sufficient knowledge or information
   24   to form a belief as to the truth of the allegations contained in said paragraph and,
   25   on that basis, denies each and every allegation contained therein.
   26           4.      Answering Paragraph 4, this paragraph contains Plaintiff’s
   27   jurisdictional allegations, to which no response is required. To the extent that a
   28   response is required, Defendant admits that it, Bio-Medical Applications of
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    1   Mission Hills, Inc., and Bio-Medical Applications Management Company, Inc. are
    2   formed under the laws of Delaware. Defendant further admits that it, Bio-Medical
    3   Applications of Mission Hills, Inc., and Bio-Medical Applications Management
    4   Company, Inc.s’ principal places of business are at the corporate headquarters in
    5   Waltham, Massachusetts. Whether any of the defendants’ “nerve centers” are in
    6   Waltham Massachusetts is a legal conclusion to which no response is required.
    7   Defendant lacks sufficient knowledge or information to form a belief as to the truth
    8   of the remaining allegations contained in said paragraph and, on that basis, denies
    9   each and every remaining allegation contained therein.
   10                         SINGLE INTEGRATED ENTERPRISE
   11           5.      Answering Paragraph 5, this paragraph contains legal conclusions, to
   12   which no response is required. To the extent that a response is deemed required,
   13   Defendant denies each and every allegation contained therein as it relates to
   14   Defendant. Defendant lacks sufficient knowledge or information to form a belief
   15   as to the truth of the remaining allegations contained in said paragraph as to the
   16   other Defendants and, on that basis, denies each and every remaining allegation
   17   contained therein.
   18           6.      Answering Paragraph 6, Defendant denies each and every allegation
   19   contained therein as it relates to Defendant. Defendant lacks sufficient knowledge
   20   or information to form a belief as to the truth of the remaining allegations contained
   21   in said paragraph as to the other Defendants and, on that basis, denies each and
   22   every remaining allegation contained therein.
   23           7.      Answering Paragraph 7, the first sentence is a legal conclusion to
   24   which no response is required. To the extent that a response is deemed required,
   25   Defendant denies each and every allegation contained therein as to itself.
   26   Defendant lacks sufficient knowledge or information to form a belief as to the truth
   27   of the allegations in the first sentence as to the other Defendants and, on that basis,
   28   denies each and every allegation in the first sentence as to the other Defendants.
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    1           8.      Answering Paragraph 8, Defendant denies that each of the three
    2   named defendants are run by the same corporate officers. Defendant admits that
    3   William Valle is the CEO for all three defendants. Defendant denies that Karen
    4   Gledhill is the Treasurer for any of the three defendants. Defendant denies that
    5   Bryan Mello is the Treasurer for all three defendants. Rather, Defendant admits
    6   only that Bryan Mello is an Assistant Treasurer for Fresenius Management
    7   Services, Inc. and Bio Medical Applications of Mission Hills, Inc. but he shares
    8   that role with others. Defendant denies that Peter Gladitsch is the CFO for any of
    9   the defendants. As to the second sentence, Defendant admits only that each of the
   10   three defendants are headquartered in Waltham, Massachusetts; Defendant denies
   11   that Waltham, Massachusetts is the only “physical” location of each Defendant.
   12   Defendant lacks sufficient knowledge or information to form a belief as to the truth
   13   of the remaining allegations contained in said paragraph as to the other Defendants
   14   and, on that basis, denies each and every remaining allegation contained therein.
   15           9.      Answering Paragraph 9, Defendant admits that Plaintiff was
   16   employed by Bio-Medical Applications of Mission Hills, Inc.; Defendant denies
   17   that such employment was “nominal.” Defendant admits that it is a separate legal
   18   entity from the other named defendants. Defendant denies that it is referred to as
   19   “departments or store numbers.” Defendant lacks sufficient knowledge or
   20   information to form a belief as to the truth of the remaining allegations contained
   21   in said paragraph and, on that basis, denies each and every remaining allegation
   22   contained therein.
   23           10.     Answering Paragraph 10, Defendant denies that it is a human
   24   resources department for thousands of kidney dialysis clinics. Defendant further
   25   denies that it operates exclusively as a human resources department for kidney
   26   dialysis clinics. Defendant admits only that the human resources employees who
   27   support various clinics, such as defendant Bio Medical Applications of California,
   28   Inc., are employed by Fresenius Management Services, Inc. Defendant lacks
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    1   sufficient knowledge or information to form a belief as to the truth of the remaining
    2   allegations contained in said paragraph and, on that basis, denies each and every
    3   remaining allegation contained therein.
    4           11.     Answering Paragraph 11, Defendant admits only that Angela McClure
    5   served as the Senior Vice President of Human Resources for Defendant from
    6   August 2014 through October 2017 and that Senior Vice Presidents such as Ms.
    7   McClure signed off (as a general template signature) on training documents.
    8   Defendant denies each and every remaining allegation contained therein.
    9           12.     Answering Paragraph 12, Defendant denies each and every allegation
   10   contained therein.
   11           13.     Answering Paragraph 13, Defendant denies that Bio-Medical
   12   Applications Management Company, Inc. was running its day to day operations or
   13   carrying out and executing the policies, procedures, and goals of defendant
   14   Fresenius Management Services, Inc. Defendant lacks sufficient knowledge or
   15   information to form a belief as to the truth of the remaining allegations contained
   16   in said paragraph as to the other Defendants and, on that basis, denies each and
   17   every remaining allegation contained therein.
   18           14.     Answering Paragraph 14, this paragraph contains legal conclusions,
   19   to which no response is required. To the extent that a response is deemed required,
   20   Defendant denies each and every allegation contained therein as it relates to
   21   Defendant. Defendant lacks sufficient knowledge or information to form a belief
   22   as to the truth of the remaining allegations contained in said paragraph as to the
   23   other Defendants and, on that basis, denies each and every remaining allegation
   24   contained therein.
   25           15.     Answering Paragraph 15, Defendant denies that it or Bio-Medical
   26   Applications Management Company, Inc. control any dialysis clinics. Defendant
   27   further denies that all dialysis clinics are subject to the same employee handbooks,
   28   rules and regulations. Defendant lacks sufficient information to form a belief as to
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    1   the truth of the remaining allegations in this paragraph and, on that basis, denies
    2   each and every remaining allegation contained therein.
    3           16.     Answering Paragraph 16, Defendant denies each and every allegation
    4   contained therein.
    5           17.     Answering Paragraph 17, Defendant denies that Plaintiff was
    6   terminated or sent a termination letter dated March 18, 2020, or any other date.
    7   Defendant admits only that Plaintiff was offered, among other things, the
    8   opportunity to find a position at another clinic that could accommodate her work
    9   restrictions. The remaining allegations are legal conclusions to which no response
   10   is required. To the extent that a response is deemed required, Defendant denies each
   11   and every allegation contained therein as to itself.
   12                               GENERAL ALLEGATIONS
   13           18.     Answering Paragraph 18, Defendant denies each and every allegation
   14   in the first sentence as to itself. Defendant admits only that Plaintiff was employed
   15   at a Fresenius dialysis clinic in Mission Hills, California. Defendant denies the
   16   remaining allegations in the first sentence. Defendant lacks sufficient knowledge
   17   or information to form a belief as to the truth of the allegations in the second
   18   sentence and, on that basis, denies each and every allegation in the second sentence.
   19           19.     Answering Paragraph 19, on information and belief, Defendant admits
   20   for itself alone that Plaintiff claims to have injured her back at work in or about
   21   March 2014. Defendant lacks sufficient knowledge or information to form a belief
   22   as to the truth of the allegations in the second sentence and, on that basis, denies
   23   each and every allegation in the second sentence as to this answering Defendant.
   24   Defendant admits only that Ms. Calderon submitted a workers’ compensation claim
   25   and that it was made aware of her injury at some point. Except as expressly
   26   admitted herein, this answering Defendant denies each and every remaining
   27   allegation contained in this paragraph.
   28   ///
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    1           20.     Answering Paragraph 20, Defendant admits, on information and
    2   belief, that her doctor placed Plaintiff on modified work duties with the restriction,
    3   at times, that she not lift or carry over 10 pounds during various portions of her
    4   employment. However, Defendant denies, on information and belief, that these
    5   were Plaintiff’s only restrictions or that the no lifting over 10 pounds was a
    6   restriction in place during the entirety of the time since her injury in March 2014.
    7   The remaining allegations in this paragraph are legal conclusions, to which no
    8   response is required. To the extent that a response is deemed required, Defendant
    9   denies, on information and belief, that Plaintiff was able to perform the essential
   10   functions of her job with modifications. Defendant further denies that there were
   11   other vacant positions at the Bio Medical Applications of Mission Hills, Inc.
   12   location where Plaintiff worked to which she could have been reassigned as a
   13   reasonable accommodation.       Except as expressly admitted herein, Defendant
   14   denies each and every remaining allegation contained in this paragraph.
   15           21.     Answering Paragraph 21, Defendant denies, on information and
   16   belief, that Plaintiff was placed on modified work duties by her doctor with the
   17   requirement that she not lift over 10 pounds from the time of her injury on
   18   March 26, 2014 to the date of Plaintiff’s termination. Defendant further denies that
   19   it terminated Plaintiff—Plaintiff was never Defendant’s employee. Defendant also
   20   denies that Plaintiff was terminated from the Mission Hills clinic. Defendant
   21   denies, on information and belief, that Plaintiff was able and competent to perform
   22   the job duties of a Patient Care Technician II over the course of time during which
   23   she has been subject to work restrictions. To the extent that there are any remaining
   24   allegations against Defendant or there are allegations against the other Defendants,
   25   Defendant lacks sufficient knowledge or information to form a belief as to the truth
   26   of the remaining allegations contained in said paragraph and, on that basis, denies
   27   each and every remaining allegation contained therein.
   28   ///
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    1           22.     Answering Paragraph 22, Defendant denies each and every allegation
    2   contained therein as to itself as Plaintiff was not its employee. Defendant lacks
    3   sufficient knowledge or information to form a belief as to the truth of the allegations
    4   contained in said paragraph as to the other Defendants and, on that basis, denies
    5   each and every allegation contained therein as to the other Defendants.
    6           23.     Answering Paragraph 23, Defendant denies each and every allegation
    7   contained therein as to itself. Defendant lacks sufficient knowledge or information
    8   to form a belief as to the truth of the allegations contained in said paragraph as to
    9   the other Defendants and, on that basis, denies each and every allegation contained
   10   therein as to the other Defendants.
   11           24.     Answering Paragraph 24, this paragraph contains legal conclusions,
   12   to which no response is required. To the extent that a response is deemed required,
   13   Defendant admits that it was an employer within the meaning of California’s Fair
   14   Employment and House Act. Plaintiff was never employed by this answering
   15   Defendant. Defendant lacks sufficient knowledge or information to form a belief
   16   as to what period Plaintiff considers “all relevant times mentioned herein” and, on
   17   that basis, denies the allegations to the extent that they covered any other time
   18   period. Except as expressly admitted herein, Defendant denies each and every
   19   remaining allegations contained therein as to this answering Defendant.
   20           25.     Answering Paragraph 25, this paragraph contains legal conclusions,
   21   to which no response is required. To the extent that a response is deemed required,
   22   Defendant denies each and every allegation contained therein as to itself as Plaintiff
   23   was never its employee.
   24           26.     Answering Paragraph 26, this paragraph contains legal conclusions,
   25   to which no response is required. To the extent that a response is deemed required,
   26   Defendant denies each and every allegation contained in this paragraph.
   27   ///
   28   ///
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    1                               FIRST CAUSE OF ACTION
    2          Disability Discrimination in Violation of Government Code § 12940(a)
    3                                   (Against all Defendants)
    4           27.     Answering Paragraph 27, Defendant incorporates by reference its
    5   answers to each of the foregoing paragraphs of Plaintiff’s Second Amended
    6   Complaint as though fully set forth herein.
    7           28.     Answering Paragraph 28, this paragraph contains legal conclusions,
    8   to which no response is required. To the extent that a response is deemed required,
    9   Defendant admits that it was an employer within the meaning of California’s Fair
   10   Employment and House Act. Defendant admits only that Plaintiff was an employee
   11   of the Mission Hills clinic. Defendant denies that Plaintiff was ever an employee
   12   of Fresenius Management Services, Inc. Defendant lacks sufficient knowledge or
   13   information to form a belief as to what period Plaintiff considers “all relevant times
   14   mentioned herein” and, on that basis, denies the allegations to the extent that they
   15   covered any other time period.
   16           29.     Answering Paragraph 29, this paragraph contains legal conclusions,
   17   to which no response is required. To the extent that a response is deemed required,
   18   Defendant admits that Government Code § 12940(a) prohibits an employer from
   19   discriminating against an employee, because of an actual and/or perceived physical
   20   disability, if the employee can perform the essential functions of her job with a
   21   reasonable accommodation. Defendant denies each and every remaining allegation
   22   contained therein.
   23           30.     Answering Paragraph 30, on information and belief Defendant admits
   24   only that Plaintiff had an injury to her back and that it limited her ability to lift and,
   25   on that basis, denies these allegations. The remaining allegations in this paragraph
   26   are legal conclusions, to which no response is required. To the extent that a
   27   response is deemed required, Defendant denies each and every remaining
   28   allegation contained therein.
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     1           31.     Answering Paragraph 31, this paragraph contains legal conclusions,
     2   to which no response is required. To the extent that a response is deemed required,
     3   Defendant denies each and every allegation contained therein as they relate to this
     4   answering Defendant.
     5           32.     Answering Paragraph 32, Defendant denies that it terminated
     6   Plaintiff’s employment—Plaintiff was never employed by this answering
     7   Defendant. To the extent that a response is deemed required as to any other
     8   defendant, Defendant denies each and every allegation contained therein.
     9           33.     Answering Paragraph 33, this paragraph contains legal conclusions,
    10   to which no response is required. To the extent that a response is deemed required,
    11   Defendant denies each and every allegation contained therein as they relate to this
    12   answering Defendant.
    13           34.     Answering Paragraph 34, this paragraph contains legal conclusions,
    14   to which no response is required. To the extent that a response is deemed required,
    15   Defendant admits only that Plaintiff seeks the damages stated. Defendant denies
    16   each and every remaining allegation contained therein.
    17                             SECOND CAUSE OF ACTION
    18      Failure to Provide Reasonable Accommodation in Violation of Gov’t Code §
    19                             12940(m) (Against all Defendants)
    20           35.     Answering Paragraph 35, Defendant incorporates by reference its
    21   answers to each of the foregoing paragraphs of Plaintiff’s Second Amended
    22   Complaint as though fully set forth herein.
    23           36.     Answering Paragraph 36, this paragraph contains legal conclusions,
    24   to which no response is required. To the extent that a response is deemed required,
    25   Defendant admits that Government Code § 12940(m) makes it unlawful for an
    26   employer to fail to make a reasonable accommodation for the known physical or
    27   mental disability of an employee as long as the accommodation does not produce
    28   ///
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     1   an undue hardship on the employer. Defendant denies each and every remaining
     2   allegation contained therein.
     3           37.     Answering Paragraph 37, on information and belief Defendant admits
     4   only that Plaintiff had an injury to her back and that it limited her ability to lift and,
     5   on that basis, denies these allegations. The remaining allegations in this paragraph
     6   are legal conclusions, to which no response is required. To the extent that a
     7   response is deemed required, Defendant denies each and every remaining
     8   allegation contained therein.
     9           38.     Answering Paragraph 38, this paragraph contains legal conclusions,
    10   to which no response is required. To the extent that a response is deemed required,
    11   Defendant denies each and every allegation contained therein as they relate to this
    12   answering Defendant.
    13           39.     Answering Paragraph 39, this paragraph contains legal conclusions,
    14   to which no response is required. To the extent that a response is deemed required,
    15   Defendant denies each and every allegation contained therein as they relate to this
    16   answering Defendant.
    17           40.     Answering Paragraph 40, this paragraph contains legal conclusions,
    18   to which no response is required. To the extent that a response is deemed required,
    19   Defendant denies each and every allegation contained therein as they relate to this
    20   answering Defendant.
    21           41.     Answering Paragraph 41, this paragraph contains legal conclusions,
    22   to which no response is required. To the extent that a response is deemed required,
    23   Defendant admits only that Plaintiff seeks the damages stated. Defendant denies
    24   each and every remaining allegation contained therein.
    25   ///
    26   ///
    27   ///
    28   ///
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     1                              THIRD CAUSE OF ACTION
     2    Failure to Engage in the Interactive Process in Violation of Government Code §
     3                             12940(n) (Against all Defendants)
     4           42.     Answering Paragraph 42, Defendant incorporates by reference its
     5   answers to each of the foregoing paragraphs of Plaintiff’s Second Amended
     6   Complaint as though fully set forth herein.
     7           43.     Answering Paragraph 43, this paragraph contains legal conclusions,
     8   to which no response is required. To the extent that a response is deemed required,
     9   Plaintiff was not Defendant’s employee and Defendant therefore denies each and
    10   every allegation contained therein as they relate to this answering Defendant.
    11           44.     Answering Paragraph 44, on information and belief Defendant admits
    12   only that Plaintiff had an injury to her back and that it limited her ability to lift and,
    13   on that basis, denies these allegations. The remaining allegations in this paragraph
    14   are legal conclusions, to which no response is required. To the extent that a
    15   response is deemed required, Defendant denies each and every remaining
    16   allegation contained therein.
    17           45.     Answering Paragraph 45, this paragraph contains legal conclusions,
    18   to which no response is required. To the extent that a response is deemed required,
    19   Defendant denies each and every allegation contained therein as they relate to this
    20   answering Defendant.
    21           46.     Answering Paragraph 46, this paragraph contains legal conclusions,
    22   to which no response is required. To the extent that a response is deemed required,
    23   Defendant lacks sufficient knowledge or information to form a belief as to the truth
    24   of the allegation that “Plaintiff was willing to participate in an interactive process
    25   to determine whether reasonable accommodations could be made so that she would
    26   be able to perform the essential job requirements” and, on that basis, denies such
    27   allegation. Defendant denies each and every remaining allegation contained in said
    28   paragraph as to Defendant.
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     1           47.     Answering Paragraph 47, this paragraph contains legal conclusions,
     2   to which no response is required. To the extent that a response is deemed required,
     3   Defendant denies each and every allegation contained therein as they relate to this
     4   answering Defendant.
     5           48.     Answering Paragraph 48, this paragraph contains legal conclusions,
     6   to which no response is required. To the extent that a response is deemed required,
     7   Defendant admits only that Plaintiff seeks the damages stated. Defendant denies
     8   each and every remaining allegation contained therein.
     9                             FOURTH CAUSE OF ACTION
    10         Retaliation of Requesting Accommodation in Violation of Gov’t Code §
    11                             12940(m) (Against all Defendants)
    12           49.     Answering Paragraph 49, Defendant incorporates by reference its
    13   answers to each of the foregoing paragraphs of Plaintiff’s Second Amended
    14   Complaint as though fully set forth herein.
    15           50.     Answering Paragraph 50, this paragraph contains legal conclusions,
    16   to which no response is required. To the extent that a response is deemed required,
    17   Defendant admits each and every allegation contained therein.
    18           51.     Answering Paragraph 51, Defendant admits, on information and
    19   belief, that Plaintiff claimed that she had a limited ability to lift. Defendant lacks
    20   sufficient knowledge or information to form a basis as to the truth of the allegation
    21   that it was Plaintiff’s claimed injuries to her back which limited Plaintiff’s ability
    22   to lift and, on that basis, denies this allegation. Defendant admits, on information
    23   and belief, that Plaintiff requested, at certain times, that Defendant grant her
    24   modified duties that she not be required to lift over 10 pounds, among other
    25   requests for modified duties. Defendant lacks sufficient knowledge or information
    26   to form a belief as to what period Plaintiff considers “all relevant times mentioned
    27   herein” and, on that basis, denies the allegations to the extent that they cover any
    28   particular time period. The remaining allegations in this paragraph are legal
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     1   conclusions, to which no response is required. To the extent that a response is
     2   deemed required, Defendant denies each and every remaining allegation contained
     3   therein.
     4           52.     Answering Paragraph 52, Defendant denies that it terminated
     5   Plaintiff’s employment, and further denies the implication that this answering
     6   Defendant was Plaintiff’s employer. The remaining allegations in this paragraph
     7   are legal conclusions, to which no response is required. To the extent that a
     8   response is deemed required, Defendant denies each and every remaining
     9   allegation contained therein as to Defendant.
    10           53.     Answering Paragraph 53, this paragraph contains legal conclusions,
    11   to which no response is required. To the extent that a response is deemed required,
    12   Defendant denies each and every allegation contained therein as they relate to this
    13   answering Defendant.
    14           54.     Answering Paragraph 54, this paragraph contains legal conclusions,
    15   to which no response is required. To the extent that a response is deemed required,
    16   Defendant admits only that Plaintiff seeks the damages stated. Defendant denies
    17   each and every remaining allegation contained therein.
    18                              FIFTH CAUSE OF ACTION
    19                     Wrongful Termination in Violation of Public Policy
    20                                  (Against all Defendants)
    21           48. [sic] Answering Paragraph 48, Defendant incorporates by reference its
    22   answers to each of the foregoing paragraphs of Plaintiff’s Second Amended
    23   Complaint as though fully set forth herein.
    24           49. [sic] Answering Paragraph 49, Defendant denies each and every
    25   allegation contained therein as they relate to this answering Defendant.
    26   ///
    27   ///
    28   ///
                                                    14             2:20-cv-07869 PSG (JEMx)
                                               DEF FRESENIUS MANAGEMENT SERVICES, INC.’S ANS
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     1           50. [sic] Answering Paragraph 50, this paragraph contains legal conclusions,
     2   to which no response is required. To the extent that a response is deemed required,
     3   Defendant denies each and every allegation contained therein as they relate to this
     4   answering Defendant.
     5           51. [sic] Answering Paragraph 51, this paragraph contains legal conclusions,
     6   to which no response is required. To the extent that a response is deemed required,
     7   Defendant denies each and every allegation contained therein as they relate to this
     8   answering Defendant.
     9           52. [sic] Answering Paragraph 52, this paragraph contains legal conclusions,
    10   to which no response is required. To the extent that a response is deemed required,
    11   Defendant admits only that Plaintiff seeks the damages stated. Defendant denies
    12   each and every remaining allegation contained therein.
    13                               SIXTH CAUSE OF ACTION
    14                                     Declaratory Relief
    15                                  (Against all Defendants)
    16           53. [sic] Answering Paragraph 53, Defendant incorporates by reference its
    17   answers to each of the foregoing paragraphs of Plaintiff’s Second Amended
    18   Complaint as though fully set forth herein.
    19           54. [sic] Answering Paragraph 54, this paragraph contains legal conclusions,
    20   to which no response is required. To the extent that a response is deemed required,
    21   Defendant denies each and every allegation contained therein.
    22                                         PRAYER
    23           55.     The remainder of Plaintiff’s Second Complaint constitutes Plaintiff’s
    24   Prayers, to which no response is required. To the extent that a response is required,
    25   Defendant denies the allegations.
    26   ///
    27   ///
    28   ///
                                                     15            2:20-cv-07869 PSG (JEMx)
                                                DEF FRESENIUS MANAGEMENT SERVICES, INC.’S ANS
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     1                                AFFIRMATIVE DEFENSES
     2                            FIRST AFFIRMATIVE DEFENSE
     3                                  (Failure to State a Claim)
     4           56.     The Complaint fails to state a claim upon which relief can be granted
     5   and must therefore be dismissed pursuant to Fed. R. Civ. P. 12(b)(6).
     6                           SECOND AFFIRMATIVE DEFENSE
     7                               (Failure to Mitigate Damages)
     8           57.     Plaintiff’s claims are barred, in whole or in part, because she failed to
     9   mitigate her damages.
    10                            THIRD AFFIRMATIVE DEFENSE
    11                                           (Waiver)
    12           58.     By her own conduct, Plaintiff has waived any right to recover any
    13   relief sought in the Second Amended Complaint.
    14                          FOURTH AFFIRMATIVE DEFENSE
    15                                       (Unclean Hands)
    16           59.     Any recovery on Plaintiff’s Second Amended Complaint is barred in
    17   whole or in part by the doctrine of unclean hands.
    18                            FIFTH AFFIRMATIVE DEFENSE
    19                                          (Estoppel)
    20           60.     Plaintiff is estopped by her own conduct from recovering any relief
    21   sought in the Second Amended Complaint.
    22                            SIXTH AFFIRMATIVE DEFENSE
    23                                           (Laches)
    24           61.     Plaintiff’s claims are barred by the doctrine of laches.
    25                          SEVENTH AFFIRMATIVE DEFENSE
    26                      (Failure to Exhaust Administrative Remedies)
    27           62.     Plaintiff’s claims are barred, in whole or in part, by the failure to
    28   exhaust administrative remedies and/or internal grievance procedures.
                                                      16            2:20-cv-07869 PSG (JEMx)
                                                  DEF FRESENIUS MANAGEMENT SERVICES, INC.’S ANS
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     1                           EIGHTH AFFIRMATIVE DEFENSE
     2                                 (Avoidable Consequences)
     3           63.     Plaintiff’s claims are barred, in whole or in part, because reasonable
     4   use of Defendant’s procedures to prevent and/or correct the alleged discriminatory
     5   or retaliatory behavior would have prevented all or some of the alleged harm.
     6                            NINTH AFFIRMATIVE DEFENSE
     7                                     (Collateral Estoppel)
     8           64.     Plaintiff’s claims, in whole or in part, are barred under the doctrine of
     9   collateral estoppel and res judicata.
    10                           TENTH AFFIRMATIVE DEFENSE
    11                               (Same Decision/Mixed Motive)
    12           65.     If it is found that Defendant’s actions were motivated by both
    13   discriminatory/retaliatory and nondiscriminatory/non-retaliatory reasons, the
    14   nondiscriminatory/non-retaliatory reasons alone would have caused Defendant to
    15   make the same decision.
    16                         ELEVENTH AFFIRMATIVE DEFENSE
    17                             (No Discrimination or Retaliation)
    18           66.     There existed legitimate, non-discriminatory, and non-retaliatory
    19   reasons for the alleged acts of Defendant of which Plaintiff complains.
    20                         TWELFTH AFFIRMATIVE DEFENSE
    21                    (Failure to Cooperate in Accommodation Process)
    22           67.     Plaintiff failed to cooperate in the process of reasonable
    23   accommodation.
    24                       THIRTEENTH AFFIRMATIVE DEFENSE
    25                                    (At Will Employment)
    26           68.     Plaintiff’s claims are barred because Plaintiff’s term of employment
    27   was terminable at will, with or without cause, pursuant to California Labor Code
    28   section 2922.
                                                      17            2:20-cv-07869 PSG (JEMx)
                                                  DEF FRESENIUS MANAGEMENT SERVICES, INC.’S ANS
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     1                       FOURTEENTH AFFIRMATIVE DEFENSE
     2                                   (Statute of Limitations)
     3           69.     The Second Amended Complaint is barred by the applicable statute of
     4   limitations, including but not limited to Code of Civil Procedure sections 335.1 and
     5   338 and California Government Code sections 12960 and 12965.
     6                         FIFTEENTH AFFIRMATIVE DEFENSE
     7                           (Workers’ Compensation Exclusivity)
     8           70.     Plaintiff’s claims are barred, in whole or in part, by the exclusive
     9   remedy provisions of the Workers’ Compensation Act pursuant to California Labor
    10   code section 3601 et seq.
    11                         SIXTEENTH AFFIRMATIVE DEFENSE
    12                              (Workers’ Compensation Offset)
    13           71.     If Plaintiff has received, or in the future receives, Workers’
    14   Compensation benefits by reason of the claimed injuries which give rise to this suit,
    15   any judgment rendered in favor of Plaintiff should be reduced by the amount of all
    16   Workers’ Compensation benefits paid to or on behalf of Plaintiff.
    17                      SEVENTEENTH AFFIRMATIVE DEFENSE
    18                                  (Disability Benefits Offset)
    19           72.     If Plaintiff has received, or in the future receives, disability benefits,
    20   any judgment rendered in favor of Plaintiff should be reduced by the amount of all
    21   disability benefits paid to or on behalf of Plaintiff.
    22                       EIGHTEENTH AFFIRMATIVE DEFENSE
    23                              (Reduction for Inability to Work)
    24           73.     If Plaintiff was unable to work due to non-job related illness or
    25   disability, any judgment rendered in favor of Plaintiff should be reduced by an
    26   amount representing the period(s) of time Plaintiff was unable to work.
    27   ///
    28   ///
                                                       18           2:20-cv-07869 PSG (JEMx)
                                                  DEF FRESENIUS MANAGEMENT SERVICES, INC.’S ANS
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     1                       NINETEENTH AFFIRMATIVE DEFENSE
     2                             (Pre-Existing Medical Condition)
     3           74.     To the extent Plaintiff suffered any symptoms of mental or emotional
     4   distress or injury, they were the result of a pre-existing psychological disorder or
     5   alternative concurrent cause, and not the result of any act or omission of Defendant.
     6                        TWENTIETH AFFIRMATIVE DEFENSE
     7                                 (After-Acquired Evidence)
     8           75.     Any recovery on Plaintiff’s Second Amended Complaint or any
     9   purported cause of action alleged therein, is barred in whole or in part by after-
    10   acquired evidence which independently justified Plaintiff’s termination
    11                      TWENTY-FIRST AFFIRMATIVE DEFENSE
    12      (Recovery of Punitive Damages Violate Plaintiff’s Constitutional Rights)
    13           76.     Plaintiff is not entitled to recover punitive or exemplary damages from
    14   Defendant on the grounds that any award of punitive or exemplary damages would
    15   violate Plaintiff’s constitutional rights under the Due Process Clauses of the Fifth
    16   and Fourteenth Amendments of the United States Constitution.
    17                    TWENTY-SECOND AFFIRMATIVE DEFENSE
    18                            (Other Named and Doe Defendants)
    19           77.     The acts of the other Named and Doe Defendants of which Plaintiff
    20   complaints were all undertaken outside of the scope of their agency and/or
    21   employment and without the knowledge or consent of Defendant, and therefore
    22   Defendant may not be held liable for their acts.
    23   ///
    24   ///
    25   ///
    26   ///
    27   ///
    28   ///
                                                     19            2:20-cv-07869 PSG (JEMx)
                                                 DEF FRESENIUS MANAGEMENT SERVICES, INC.’S ANS
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     1           WHEREFORE, this answering Defendant prays as follows:
     2           1.      That Plaintiff take nothing by her Second Amended Complaint for
     3                   damages;
     4           2.      That Plaintiff’s Second Amended Complaint be dismissed in its
     5                   entirety with prejudice;
     6           3.      That Defendant be awarded its costs of suit, including reasonable
     7                   attorneys’ fees; and
     8           4.      That the Court award such other relief as it deems appropriate.
     9
    10    Dated: January 11, 2021                         Respectfully submitted,
    11                                                    FISHER & PHILLIPS LLP
    12

    13                                              By:    /s/Darcey M. Groden
                                                          Amy L. Lessa
    14                                                    Darcey M. Groden
                                                          Attorneys for Defendants Bio-Medical
    15                                                    Applications of Mission Hills, Inc. and
                                                          Fresenius Management Services, Inc.
    16

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                                                        20           2:20-cv-07869 PSG (JEMx)
                                                    DEF FRESENIUS MANAGEMENT SERVICES, INC.’S ANS
                                                           AND AFFIRMATIVE DEFENSES TO PLTF'S SAC
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     1                                  CERTIFICATE OF SERVICE
     2         I, the undersigned, am employed in the County of San Diego, State of
         California. I am over the age of 18 and not a party to the within action; am
     3   employed with the law offices of Fisher & Phillips LLP and my business address
         is 4747 Executive Drive, Suite 1000, San Diego, California 92121.
     4
               On January 11, 2021 I served the foregoing document entitled
     5   DEFENDANT FRESENIUS MANAGEMENT SERVICES, INC.’S
         ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S SECOND
     6   AMENDED COMPLAINT on all the appearing and/or interested parties in this
         action by placing the original a true copy addressed as follows:
     7

     8   Ben J. Galante (SBN 231394)                Tel:   (213) 785-1900
         GALANTE LAW, INC.                          Fax: (213) 867-9900
     9   2181 E. Foothill Blvd., Ste. 101           Email: ben@galantelawinc.com
         Pasadena, California 91107
    10                                              Attorneys for Plaintiff, DOLORES
                                                    CALDERON
    11
         Rahul Sethi (SBN 238405)                   Tel:   (213) 254-2454
    12   SETHI LAW FIRM                             Fax: (213) 995-5400
         5015 Eagle Rock Blvd., Ste. 202            Email: rahulsethi@sethiworks.com
    13   Los Angeles, California 90041
                                                    Attorneys for Plaintiff, DOLORES
    14                                              CALDERON
    15          [by ELECTRONIC SUBMISSION] - I served the above listed
    16
                 document(s) described via the United States District Court’s Electronic
                 Filing Program on the designated recipients via electronic transmission
    17
                 through the CM/ECF system on the Court’s website. The Court’s CM/ECF
                 system will generate a Notice of Electronic Filing (NEF) to the filing party,
    18
                 the assigned judge, and any registered users in the case. The NEF will
                 constitute service of the document(s). Registration as a CM/ECF user
    19
                 constitutes consent to electronic service through the court’s transmission
                 facilities.
    20         I declare that I am employed in the office of a member of the bar of this
    21
         Court at whose direction the service was made.
                 Executed January 11, 2021 at San Diego, California.
    22

    23
                         Joy A. Lloyd              By:
                           Print Name                                  Signature
    24

    25

    26

    27

    28

                                                     1
                                           CERTIFICATE OF SERVICE
         FP 39401597.3
